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 1
                            UNITED STATES DISTRICT COURT
 2                        SOUTHERN DISTRICT OF CALIFORNIA
 3
                                                  Case No.:   21-MJ-1210
 4
 5
     UNITED STATES OF AMERICA,                    COMPLAINT FOR VIOLATION OF:
 6
                                                  Title 18 U.S.C. § 922(g)(1) –
 7
                                                  Felon in Possession of Firearms and
 8                                                Ammunition;
 9
                    v.                            Title 26 U.S.C., § 5861(d) - Possession
10                                                of an Unregistered Firearm;
11
                                                  Title 18 U.S.C., § 922(a)(1)(A), 923(a),
12                                                924(a)(1)(D) – Dealing Firearms
                                                  Without A License;
13
     TROY MATTHEW GARLAND,
14                                                Title 21 U.S.C., § 841(a)(1) –
                              Defendant.          Distribution of Methamphetamine
15
16
17        The undersigned complainant being duly sworn states:
18
19                                         COUNT ONE

20        On or about March 24, 2021, within the Southern District of California, the defendant

21 TROY MATTHEW GARLAND, knowing his status as a convicted felon, that is, a person
22 having been previously convicted of a crime punishable by imprisonment for a term
23 exceeding one year, did knowingly possess firearms and ammunition that traveled in and
24 affected interstate commerce, to wit: a Remington, model 870, 12 gauge shotgun bearing
25 serial number AB948588M; a Springfield Armory, model 1911A1, .45 caliber pistol
26 bearing serial number NM184743; a Browning, model Light Twelve, 12-gauge, Short
27 Barrel Shotgun, bearing serial number 42741; and approximately 5,000 rounds of assorted
28 ammunition, in violation of Title 18, United States Code, Section 922(g)(1).
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 1
 2                                         COUNT TWO
 3         On or about March 24, 2021, within the Southern District of California, the
 4 defendant, TROY MATTHEW GARLAND, did knowingly possess firearms, to wit: (7)
 5 seven 5.56/.223 caliber Short Barreled Rifles (SBRs), which is a rifle having a barrel of less
 6 than 16 inches in length, all of which did not bear legitimate manufacturer’s marking or
 7 serial number; and a Browning, model Light Twelve, 12-gauge, Short Barrel Shotgun,
 8 bearing serial number 42741, which is a shotgun having a barrel of less than 18 inches in
 9 length; not registered to him in the National Firearms Registration and Transfer Record; in
10 violation of Title 26, United States Code, Section 5861(d).
11
12                                       COUNT THREE
13         Beginning on an unknown date and continuing up to March 24, 2021, within the
14 Southern District of California, the defendant, TROY MATTHEW GARLAND, not being
15 a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,
16 did willfully engage in the business of dealing in firearms, in violation of Title 18, United
17 States Code, Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).
18
19                                        COUNT FOUR
20         On or about March 4, 2021, within the Southern District of California, the defendant,
21 TROY MATTHEW GARLAND, did knowingly and intentionally distribute approximately
22 28 grams of a mixture and substance containing a detectable amount of methamphetamine,
23 a Schedule II Controlled Substance; in violation of Title 21 United States Code, Section
24 841(a)(1).
25
26
27
28
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 1
 2        The complainant further states that this complaint is based on the attached Probable
 3 Cause Statement incorporated herein by reference.
 4
 5
                                                _____________________________
 6
                                                Joseph Stearns
 7                                              ATF Special Agent
 8
 9       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
                             nd
10 4.1 by telephone on this 2 day of April 2021.
11                                              _________________________________
12                                              HON. BERNARD G. SKOMAL
                                                UNITED STATES MAGISTRATE JUDGE
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                                PROBABLE CAUSE STATEMENT
1
           The following does not contain all of the information known to myself or other
2
     federal agents and state and local officers regarding this investigation, but does contain at
3
     least those facts believed to be necessary to establish the requisite probable cause.
4
           In February of 2021, San Diego Police Department (“SDPD”) Narcotics Detectives
5
     received a Crime Stoppers narcotics complaint about Troy GARLAND (“GARLAND”)
6
     selling controlled substances and manufacturing “ghost guns” at his residence.           The
7
     complaint specifically stated GARLAND was selling multiple controlled substances to
8
     include; fentanyl, methamphetamine, cocaine, heroin, Xanax, and MDMA. The complaint
9
     identified GARLAND’s residence as 4459 32nd Street, San Diego, CA, within the Southern
10
     District of California.
11
           On or about February 25, 2021, SDPD Narcotics Detectives and Special Agents
12
     (“SA”) with the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) arranged
13
     to have an ATF Confidential Informant (“CI”) purchase narcotics from GARLAND.
14
     GARLAND agreed to sell the ATF CI methamphetamine from his residence, 4459 32nd
15
     Street, San Diego, CA.      Continuing on February 25, 2021, the ATF CI traveled to
16
     GARLAND’s residence and purchased approximately 28 grams (g) of a white crystalline
17
     substance (later determined to be methamphetamine) for $300.00. Additionally, the ATF
18
     CI purchased an AR-15 type rifle, bearing no manufacturer’s marking or serial number
19
     (identified by ATF as a Privately Manufactured Firearm (“PMF”)) for $1,100.00.
20
     GARLAND informed the ATF CI that he manufactured the firearm himself and had other
21
     firearms he would sell.
22
           On or about March 1, 2021, the ATF CI communicated with GARLAND regarding
23
     the future purchase of additional amounts of methamphetamine and additional firearms.
24
     Via a text message communication, the ATF CI inquired if GARLAND had built anymore
25
     firearms. GARLAND responded that he had built additional firearms and proceeded to send
26
     a series of photographs depicting multiple firearms to the ATF CI. The ATF CI then
27
     negotiated with GARLAND to purchase an additional amount of methamphetamine and
28
     additional firearms.
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 1         On or about March 4, 2021, the ATF CI met GARLAND at his residence to conduct
 2 the previously negotiated transaction. The ATF CI paid GARLAND $2,400.00 for (2) two
 3 AR-15 type rifles, bearing no manufacturer’s markings or serial numbers and $1,400.00 for
 4 (2) two Glock-style pistols, bearing no manufacturer’s markings or serial numbers. All
 5 firearms are believed to be PMFs manufactured by GARLAND. Additionally, the ATF CI
 6 purchased approximately 28 g of a white crystalline substance (later determined to be
 7 methamphetamine) from GARLAND for $300.00.
 8         On March 24, 2021, SDPD Narcotics Detectives executed a residential State search
 9 warrant on GARLAND’s residence, 4559 32nd Street, San Diego, CA. During the search of
10 GARLAND’s property and residence, law enforcement located additional firearms,
11 including, but not limited to, the following:
12         1. A Remington, model 870, 12-gauge shotgun bearing serial number AB948588M;
13         2. A Springfield Armory, model 1911A1, .45 caliber pistol bearing serial number
14            NM184743;
15         3. A Browning, model Light Twelve, 12-gauge Short Barrel Shotgun, bearing serial
16            number 42741 and having a barrel of less than 18 inches in length;
17         4. (5) Five, AR-15 type, semi-automatic SBRs bearing no legitimate manufacturing
18            mark or serial number (identified by ATF as a PMF) and having a barrel of less
19            than 16 inches in length;
20         5. (3) Three, AR-15 type, semi-automatic rifles bearing no legitimate manufacturing
21            mark or serial number (identified by ATF as a PMF); and
22         6. (4) Four, Glock-style, semi-automatic pistols bearing no legitimate manufacturing
23            mark or serial number (identified by ATF as a PMF).
24         During the search, law enforcement personnel also located approximately 5,000
25 miscellaneous rounds of ammunition, miscellaneous firearms parts including a milled AR-
26 15 style lower receiver bearing no serial number (identified by ATF as a PMF), drilled pistol
27 frames bearing no serial number, additional amounts of substances that presumptively tested
28 positive for methamphetamine and fentanyl, approximately 20 firearm magazines,
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 1 approximately $22,000.00 in United State currency, and indicia of GARLAND’s dominion
 2 and control of the residence.
 3         Additionally on March 24, 2021, prior to the execution of the state search warrant,
 4 SDPD officers detained GARLAND by conducting a traffic stop after he was observed by
 5 surveillance units leaving his residence. GARLAND was in possession of a military style
 6 bag which upon being searched contained (1) one, loaded, Glock-style pistol bearing no
 7 manufacturer’s markings or serial number (identified by ATF as a PMF) and approximately
 8 $11,000 in United States currency.
 9         Post-Miranda, GARLAND admitted ownership of the residence and vehicles where
10 law enforcement personnel located the aforementioned items. GARLAND admitted to the
11 manufacturing of firearms, both rifles and pistols, and selling the firearms for the purpose
12 of monetary gain.       GARLAND also admitted to knowingly manufacturing SBRs.
13 Furthermore, GARLAND admitted to using and possessing methamphetamine for the
14 purpose of sale.
15         Preliminary records checks revealed the following criminal history listed below:
16
17         CONVICTION             COURT OF      CHARGE                        TERM OF
               DATE              CONVICTION                               IMPRISONMENT
18      09/02/2003               CASC-San   11375 (b)(1) HS -             180 Days’ jail
19                               Diego      Poss Control
                                            Substance (Felony)            3 Years’ probation
20
21
           The firearms and ammunition were inspected. Preliminary checks revealed the
22
     firearms were not manufactured in California. Therefore, the firearms traveled in, and/or
23
     affected interstate commerce to arrive in the state of California. An inquiry into ATF’s
24
     National Firearm Registration and Transfer Record (“NFRTR”) in regards to GARLAND
25
     revealed no record of items. Additionally, an inquiry into ATF databases determined
26
     GARLAND does not hold a license with ATF known as a Federal Firearms License (“FFL”)
27
     allowing him to engage in the business of importing, manufacturing, or dealing in firearms.
28
